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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                            RE:    Prasert SOMSINSAWASDI
                                                   Docket Number: 2:06CR00343-01
                                                   PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


The offender is requesting permission to travel to Bangkok, Thailand. He is current with
all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On August 14, 2007, the offender pled guilty to a
violation of 18 USC 1955(a) - Conducting Illegal Gambling Business, and 18 USC 1956(h) -
Conspiracy to Commit Money Laundering. In summary, he and his wife, along with others,
were engaged in illegal sports betting and selling illegal lottery tickets. It was suspected the
offender had laundered in excess of $230,000 from this illegal enterprise, which may have
been laundered out of the country during his travels to Southeast Asia. He was sentenced
on November 13, 2007, by the Honorable D. Lowell Jensen.


Sentence imposed: The offender was sentenced to 18 months imprisonment to be
followed by a 36 month term of supervised release.


Dates and Mode of Travel: The offender plans to depart on May 2, 2011, and return on
August 2, 2011.


Purpose: To receive dental and medical treatment, in addition to visiting family and
attending his son's wedding. The offender was previously permitted to travel to Bangkok,
Thailand on November 18, 2009, and he returned on March 22, 2010, without incident.

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RE:    Prasert SOMSINSAWASDI
       Docket Number: 2:06CR00343-01
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



Your Honor, prior to his departure from San Francisco, California, to Bangkok, Thailand,
his luggage and person will be searched by the underlying officer along with another
officer. He does have a warrantless search condition as part of his special conditions of
supervised release. Additionally, upon his return when he enters the United States, this
offender will be referred to secondary inspection by the Customs Border Patrol. The
purpose of the search is to prevent him from traveling with large quantities of money
derived from any illegal activity should Your Honor grant his travel request.

                                  Respectfully Submitted,


                                  /s/ Cassandra A. Fox
                                  CASSANDRA A. FOX
                             United States Probation Officer

DATED:        January 20, 2011
              Sacramento, California



REVIEWED BY:           /s/ Michael A. Sipe
                       MICHAEL A. SIPE
                       Supervising United States Probation Officer



ORDER OF THE COURT:

Approved         X                               Disapproved


           1-25-2011                             /s/ John A. Mendez
Date                                             JOHN A. MENDEZ
                                                 United States District Judge




                                                                                                           R ev. 05/2006
                                             2            T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
